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 4
 5                                 UNITED STATES DISTRICT COURT
 6                                         DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                    Case No. 2:12-cr-00084-MMD-GWF
                                               )
10   vs.                                       )                    ORDER
                                               )
11   ROGER GRODESKY,                           )
                                               )
12                     Defendant.              )
     __________________________________________)
13
14          This matter is before the Court on Defendant’s Motion to Modify Conditions of Release
15   (#65), filed on October 4, 2012. The Court conducted a hearing in this matter on October 11, 2012.
16   The Defendant, who resides in the Southern District of Ohio and who is under courtesy supervision
17   by the Pretrial Services in that district, was not present in person or telephonically at the hearing.
18   Counsel for the Government requested that the determination of the motion be deferred for a period
19   of thirty days while the Government pursues an investigative matter that is under seal and that
20   Defendant be present in person or telephonically at any future hearing on this motion. The Court
21   requested that the Government provide the Court, in camera, with information regarding the
22   investigative matter, which the Government has done. Based on the Court’s review of that in
23   camera information, the Court finds that good cause exists to continue the hearing on Defendant’s
24   Motion to Modify Conditions of Release (#65) for a period of at least thirty days. Accordingly,
25   ...
26   ...
27   ...
28   ...
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 1          IT IS HEREBY ORDERED that the hearing on Defendant’s Motion to Modify
 2   Conditions of Release (#65) is continued until Wednesday, November 14, 2012, at 1:30 p.m. in
 3   Courtroom 3A. Defendant shall appear at the hearing either in person or by telephone.
 4          DATED this 11th day of October, 2012.
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 6                                               ______________________________________
                                                 GEORGE FOLEY, JR.
 7                                               United States Magistrate Judge
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